Case 1:17-cv-22643-MGC Document 177 Entered on FLSD Docket 03/30/2022 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                        Case No. 17-22643-Civ-COOKE/GOODMAN

   FEDERAL ELECTION COMMISSION,

          Plaintiff,

   v.

   DAVID RIVERA,

         Defendant.
   ______________________________________/
                                     FINAL JUDGMENT
          THIS MATTER is before the Court on a sua sponte review of the record. On February
   23, 2021, this Court issued an Order Granting Plaintiff Federal Election Commission’s
   Motion for Summary Judgment (ECF No. 163) against Defendant David Rivera for violating
   52 U.S.C. § 30122. On March 24, 2022, this Court issued an Order Denying Defendant David
   Rivera’s Motion to Dismiss for Lack of Subject Matter Jurisdiction (ECF No. 176). For the
   reasons stated in those orders and pursuant to Federal Rules of Civil Procedure 56 and 58:
          The Court DECLARES that Defendant David Rivera knowingly and willfully
   violated 52 U.S.C. § 30122 by making contributions in the name of another.
          It is ORDERED that defendant David Rivera shall pay a civil penalty of $456,000 and
   costs of $927 to the United States Department of the Treasury.
          It is further ORDERED that defendant David Rivera is permanently enjoined from
   further making of contributions in the name of another in violation of 52 U.S.C. § 30122.
          DONE and ORDERED in Chambers in Miami, Florida, this 29th day of March 2022.
Case 1:17-cv-22643-MGC Document 177 Entered on FLSD Docket 03/30/2022 Page 2 of 2




   Copies furnished to:
   Jonathan Goodman, U.S. Magistrate Judge
   Counsel of record
